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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ___________________________________________________
 C.H., on behalf of herself individually and her minor child,
 M.P.,                                                                 ORDER

                                               Plaintiffs,             19-CV-3827 (RA)(SDA)

                        - against -

 NEW YORK CITY DEPARTMENT OF EDUCATION,
 NEW YORK CITY BOARD OF EDUCATION, AND
 CHANCELLOR RICHARD CARRANZA IN
 HIS OFFICIAL CAPACITY,

                                     Defendants.
 ___________________________________________________

  IT IS HEREBY ORDERED that New York City Department of Education Impartial Hearing

 Officer Brad H. Rosken hold the underlying administrative proceedings in Case No. 161379,

 including, but not limited to, any hearings scheduled in Case No. 161379, in abeyance until

 December 18, 2020 to allow the parties in this matter to finalize a settlement.



Dated:        October 20, 2020



 SO ORDERED:


 _________________________
 Hon. Ronnie Abrams, U.S.D.J
